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          December 7, 2021


          VIA EMAIL

          Honorable Bennie G. Thompson, Chairman
          Honorable Liz Cheney, Vice Chair
          Select Committee to Investigate the January 6th Attack on the United States Capitol
          U.S. House of Representatives
          1540A Longworth House Office Building
          Washington, DC 20515


          Re:         Subpoenas Served on Honorable Mark R. Meadows


          Dear Chair Thompson and Vice Chair Cheney:

                  Over the last several weeks, Mr. Meadows has consistently sought in good faith to pursue
          an accommodation with the Select Committee and up until yesterday we believed that could be
          obtained. We acted on the belief that the Select Committee would receive, also in good faith,
          relevant, responsive but non-privileged facts. We have consistently communicated to the Select
          Committee that Mr. Meadows is precluded from making a unilateral decision to waive Executive
          Privilege claims asserted by the former president.

                  We agreed to provide thousands of pages of responsive documents and Mr. Meadows was
          willing to appear voluntarily, not under compulsion of the Select Committee’s subpoena to him,
          for a deposition to answer questions about non-privileged matters. Now actions by the Select
          Committee have made such an appearance untenable. In short, we now have every indication from
          the information supplied to us last Friday - upon which Mr. Meadows could expect to be
          questioned - that the Select Committee has no intention of respecting boundaries concerning
          Executive Privilege. In addition, we learned over the weekend that the Select Committee had,
          without even the basic courtesy of notice to us, issued wide ranging subpoenas for information
          from a third party communications provider without regard to either the broad breadth of the
          information sought, which would include intensely personal communications of no moment to any
          legitimate matters of interest to the Select Committee, nor to the potentially privileged status of
          the information demanded. Moreover, Mr. Chairman, your recent comments in regard to another


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witness that his assertion of 5th Amendment rights before the Select Committee is tantamount to
an admission of guilt calls into question for us what we had hoped would be the Select Committee’s
commitment to fundamental fairness in dealing with witnesses.

        As a result of careful and deliberate consideration of these factors, we now must decline
the opportunity to appear voluntarily for a deposition. It is well-established that Congress’s
subpoena authority is limited to the pursuit of a legitimate legislative purpose. Congress has no
authority to conduct law enforcement investigations or free-standing “fact finding” missions. Even
where there is a legislative purpose, requests that implicate the Separation of Powers by targeting
current or former Executive officials must be narrowly tailored. Yet again, with the breadth of its
subpoenas and its pugnacious approach, the Select Committee has made clear that it does not
intend to respect these important constitutional limits.

                                 *       *      *       *       *

       Mr. Meadows proudly served as Chief of Staff to President Trump and in that role assumed
responsibility to protect Executive Privilege during and after his tenure. He assumed that
responsibility not for his own benefit but for the benefit of all those who will serve after him,
including future presidents. His appreciation for our constitutional system and for the Separation
of Powers dictates that he cannot voluntarily appear under these circumstances. Nonetheless, as
we have before, we reiterate our willingness to consider an interrogatory process of Select
Committee written questions and answers from Mr. Meadows so that there might be both an
orderly process and a clear record of questions and related assertions of privilege where
appropriate.

                                                 Sincerely yours,




                                                 George J. Terwilliger III


cc:    Honorable Timothy J. Heaphy, Chief Investigative Counsel
       Honorable John F. Wood, Senior Investigative Counsel
